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                     IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF ILLINOIS
                              EASTERN DIVISION
GISELLE NEVAREZ, et al.,                 )
                                         )     No. 1:24-cv-2447
          Plaintiﬀs,                     )
                                         )     Hon. Judge Manish S. Shah
v.                                       )
                                         )     Hon. Mag. Judge Jeﬀrey T. Gilbert
HIGH HEELS DANCING CO., et al.,          )
                                         )     Jury Trial Demanded
          Defendants.                    )

              PLAINTIFFS’ MOTION FOR LEAVE TO FILE REPLY BRIEF

       Plaintiﬀs move this Court for leave to ﬁle a Reply in support of their Motions to Enforce the

Court’s Order, to Compel Discovery, for Discovery Sanctions, to Stay the Notice and Opt-In Period,

and to Equitably Toll the Statute of Limitations (ﬁled on September 19, 2024, ECF No. 34), and for

Civil Contempt (ﬁled on October 1, 2024, ECF No. 40). In support of this motion, Plaintiﬀs state:

       1.      On September 19, 2024, Plaintiﬀs ﬁled their Motion to Enforce (ECF No. 34), after

Defendants failed to comply with multiple Court orders related to discovery obligations.

       2.      Due to Defendants’ continued non-compliance, including failure to provide discovery

materials and missed deadlines, Plaintiﬀs ﬁled a subsequent Motion for Civil Contempt on October

1, 2024 (ECF No. 40), detailing Defendants' ongoing violations.

       3.      At that time, the Court did not permit further replies following Defendants’ responses

to Plaintiﬀs' motions. However, since the ﬁling of these motions, new developments have occurred

that materially impact Plaintiﬀs’ claims, including forensic evidence conﬁrming spoliation and other

signiﬁcant noncompliance by Defendants.

       4.      Plaintiﬀs now seek leave to ﬁle a short reply to address these developments and

respond to Defendants’ claims in their response briefs. A proposed Reply is attached as Exhibit 1 for

the Court’s consideration (along with Exhibit 1 to that Reply).
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        5.      This Court has authority to permit such a reply under its inherent authority to vested

to achieve the orderly and expeditious disposition of cases. See Chambers v. Nasco, Inc., 501 U.S. 32

(1991) (citing Link v. Wabash R. Co., 370 U. S. 626, 630-631 (1962)).

        6.      This reply will assist the Court in resolving the pending motions by providing new

information as to Defendants' escalating noncompliance with its orders, including spoliation of

evidence, and clarifying critical points raised in the brieﬁng.

        7.      Plaintiﬀs fully intend to comply with this Court’s prior order and ﬁle an additional

status report on October 29, 2024.

        WHEREFORE, Plaintiﬀs respectfully request that this Court grant leave to ﬁle the attached

Reply in support of Plaintiﬀs' Motions to Enforce and for Civil Contempt instanter, and for such

other relief as this Court deems just and proper.


Dated: October 29, 2024                                  Respectfully submitted,
                                                         /s/      Max Barack
                                                         One of the Plaintiﬀs’ Attorneys
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                                  CERTIFICATE OF SERVICE
       I, Max Barack, hereby certify that on October 29, 2024, the foregoing was ﬁled electronically.

Notice of this ﬁling will be sent to the following individuals by operation of the Court’s electronic

ﬁling system. Parties may access this ﬁling through the Court’s system.


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